         Case 2:07-cv-00118-MCE-DAD             Document 12       Filed 06/26/07      Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   ALEKSANDR YAKOVLEV,

11                  Petitioner,                   No. CIV S-07-0118 MCE DAD P

12          vs.

13   CHARLES DeMORE, et al.,

14                  Respondents.                  FINDINGS AND RECOMMENDATIONS

15                                          /

16                  Petitioner filed an amended petition for a writ of habeas corpus pursuant to 28

17   U.S.C. § 2241 challenging his detention at the Yuba County Jail by the U.S. Immigration and

18   Naturalization Service. On May 1, 2007, the United States Attorney’s Office filed a motion to

19   dismiss the amended petition as moot because petitioner has been released from custody on an

20   order of supervision. On May 21, 2007, the court ordered petitioner to file his opposition or a

21   statement of non-opposition to respondents’ motion to dismiss. Petitioner has failed to respond

22   to the court’s order.

23                  Accordingly, IT IS HEREBY RECOMMENDED that respondents’ May 1, 2007

24   motion to dismiss be granted and this action be dismissed.

25                  These findings and recommendations are submitted to the United States District

26   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within twenty

                                                     1
         Case 2:07-cv-00118-MCE-DAD              Document 12        Filed 06/26/07       Page 2 of 2




 1   days after being served with these findings and recommendations, any party may file written

 2   objections with the court and serve a copy on all parties. Such a document should be captioned

 3   “Objections to Magistrate Judge’s Findings and Recommendations.” Any reply to the objections

 4   shall be served and filed within ten days after service of the objections. The parties are advised

 5   that failure to file objections within the specified time may waive the right to appeal the District

 6   Court’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

 7   DATED: June 26, 2007.

 8

 9

10

11   DAD:4
     yako0118.157
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                       2
